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                                EXHIBITA
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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,

                    Plaintiffs,                         CIVIL NO: 3:22-cv-00049-NKM-JCH

  -v.-

  JOSHUA MAST, et al.,

                    Defendants,
                                                   PLAINTIFFS’ SUPPLEMENTAL
                                                   OBJECTIONS AND RESPONSES TO
                                                   DEFENDANT RICHARD MAST’S FIRST
                                                   SET OF REQUESTS FOR
                                                   PRODUCTION TO PLAINTIFFS

  and
  UNITED SECRETARY OF STATE
  ANTONY BLINKEN, et al.

                    Nominal Defendants.


          Plaintiffs, by counsel, pursuant to Fed. R. Civ. P. 34(b) serve these supplemental objections

 and responses to Defendant Richard Mast’s First Set of Requests for the Production of Documents

 to Plaintiffs.

                                  PRELIMINARY STATEMENT

          These responses are made solely for the purpose of this action. These responses are subject

 to all objections as to competence, relevance, materiality, propriety, and admissibility, and to any

 and all other objections on any grounds that would require the exclusion of any statements

 contained therein if such request was asked of, or statements contained therein were made by, a

 witness present and testifying in court, all of which objections and grounds are expressly reserved

 and may be interposed at the time of trial.



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          Discovery in this matter and Plaintiffs’ investigation of the subject matter of this action are

 ongoing. As such, Plaintiffs have not completed its discovery, investigation, research, and trial

 preparation. The following responses are based solely on the information that is presently

 available and specifically known to Plaintiffs. Accordingly, the following responses are given

 without prejudice to Plaintiffs’ rights to produce evidence of any fact(s) which Plaintiffs may later

 discover or recall. Plaintiffs reserve the right to supplement the following responses and to change

 any and all answers therein as additional facts are ascertained, analyses are made, legal research is

 completed, contentions are made, or as a result of the Court’s legal determination of issues.

          Objections to each request are made on an individual basis below. From time to time, for

 special emphasis, Plaintiffs will repeat certain specific objections also set forth in the General

 Objections. The specific objections are submitted without prejudice to, and without waiving, the

 General Objections listed below but not expressly set forth in the response. The assertion of any

 objection to any request below is neither intended as, nor shall in any way be deemed, a waiver of

 Plaintiffs’ rights to assert that or any other objection at a later date.

          No incidental or implied admissions are intended by the response below. The fact that

 Plaintiffs have answered or objected to any request should not be taken as an admission that

 Plaintiffs accept or admit the existence of any “facts” or positions set forth or assumed by such

 request. The fact that Plaintiffs have answered part or all of any request is not intended to be, and

 shall not be construed to be, a waiver by Plaintiffs of any part of any objection to the request.

                                      GENERAL OBJECTIONS

          Plaintiffs’ responses below do not in any way constitute an adoption of Defendant’s

 purported Definitions of words or phrases contained in the Requests for Production. Plaintiffs

 object to the Definitions to the extent they: are unclear, ambiguous, overly broad, or unduly



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 burdensome; are inconsistent with the ordinary and customary meaning of the words or phrases

 they purport to define; seek to impose obligations different from, or in excess of, those created by

 the Federal Rules of Civil Procedure, the Local Rules, or other applicable statutes, rules or orders;

 include assertions of purported fact that are inaccurate or are disputed by the parties to this action;

 and/or incorporate other purported Definitions that suffer from such defects. Consistent with

 applicable law, and without waiver or limitation of any of its general or specific objections,

 Plaintiffs have made a good faith effort to interpret the objectionable Definitions and terms in these

 Requests for Production.

          Plaintiffs object to every Request for Production—including, but not limited to, the

 “Definitions” and “Instructions” set forth in the Requests for Production—to the extent each

 Request purports to impose requirements that are different from, or in addition to, those imposed

 by the Federal Rules of Civil Procedure, the Local Rules, or other applicable statutes, rules or

 orders, as well as the agreed to scope of discovery as set forth in the Parties’ Rule 26(f) report.

          Plaintiffs object to every Request for Production to the extent each request purports to seek

 information that is protected by the attorney-client privilege, the work product doctrine, and/or any

 other applicable restriction or privilege on discovery. Plaintiffs will not produce information

 protected by such privileges.

          Plaintiffs object to every Request for Production to the extent each Request calls for

 information that is irrelevant to the claim or defense of any party to this action and to the extent it

 is not proportional to the needs of the case.

          Plaintiffs object to every Request for Production to the extent each Request is overbroad,

 unduly burdensome, oppressive, and seeks information that is beyond the scope of discovery under

 the Federal Rules of Civil Procedure, the Local Rules, or other applicable statutes, rules or orders.



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          Plaintiffs object to every Request for Production to the extent each Request seeks

 information that is confidential or classified, or the divulgence of which risks placing third parties

 in danger, as contemplated by the court’s Protective Orders.

          Plaintiffs further object to Defendant’s “Definitions” and “Instructions” as being overly

 broad, vague, and ambiguous and as seeking information irrelevant to the claim or defense of any

 party to this action and to the extent it is not proportional to the needs of the case.

          Plaintiffs object to the Instructions to the extent that they impose discovery obligations

 beyond those imposed by the Federal Rules of Civil Procedure, the Local Rules, or other applicable

 statutes, rules or orders, as well as the agreed to scope of discovery as set forth in the Parties’ Rule

 26(f) report.

          Plaintiffs further object to Defendant’s definition of “Document” to the extent it covers

 things outside the possession, custody or control of Plaintiffs. Plaintiffs further object to this

 definition to the extent that it covers duplicates of documents.

          Plaintiffs object to the defined terms “Captain Mast” and “Major Mast” to the extent they

 imply the actions of Defendant Joshua Mast as a private citizen were undertaken in his official

 capacity as an agent of the United States, Department of Defense, or United States Marine Corps.

          Plaintiffs object to Defendant’s instruction to “set forth the contents of [], the date of

 destruction [of], [and] the name of the Person who ordered or authorized such destruction” of any

 requested documents that have been destroyed to the extent such Plaintiffs do not possess such

 specific knowledge. Plaintiffs lived for years in an active warzone and were hurriedly evacuated

 from their home country. As a result, it is likely that some requested documents may have been

 destroyed without Plaintiffs’ knowledge as to the particulars of such destruction. Plaintiffs will

 provide such information regarding any documents destroyed by themselves or at their direction.



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 Plaintiffs will also provide such information regarding documents destroyed by third parties

 without direction from Plaintiffs, to the extent such knowledge is available to Plaintiffs.

          Plaintiffs object to the definition of “Communication” to the extent that it purports to

 impose discovery obligations beyond those imposed by the Federal Rules of Civil Procedure, the

 Local Rules, or other applicable statutes, rules or orders, as well as the agreed to scope of discovery

 as set forth in the Parties’ Rule 26(f) report.

          Plaintiffs object to Defendant’s instruction to “furnish information and Documents in Your

 possession, custody, or control, including information that is in the possession, custody, or control

 of Your employees, agents, investigators, consultants, representatives, attorneys (subject to any

 otherwise applicable privileges), assignors, or any other Person within Your control[]” to the extent

 such Request is prohibited by Protective Orders entered in this court, the Circuit Court Matter, the

 Adoption Matter, the J&DR Matter, or the Baby L. Matter. Plaintiffs further object to this Request

 to the extent it seeks documents produced by opposing parties in the above-referenced matters.

          Plaintiffs object to Defendant’s instruction that “All Documents that respond, in whole or

 in part, to any part or clause of any paragraph of these Requests shall be produced in their entirety,

 including attachments, cover letters, memoranda, appendices, and enclosures. Documents that in

 their original condition were stapled, clipped, or otherwise fastened together shall be produced in

 such form so as to preserve their family relationship[]” to the extent this prevents redactions for

 privilege or to prevent disclosure of personal identifying information as contemplated by the

 Protective Order entered in this court or any of the above-mentioned proceedings.

          Plaintiffs object to every Request for Production to the extent each request seeks

 information that is already in Defendant’s possession or that is equally available to Defendant from

 public sources.



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          Plaintiffs object to Defendant’s defined time period of June 1, 2019 to present. This

 predates the date on which Baby Doe was orphaned by three months. Plaintiffs will interpret the

 relevant time period as beginning on September 6, 2019.

          Plaintiffs object to every Request for Production to the extent each request seeks

 information that is outside Plaintiffs’ possession, custody or control.

          Plaintiffs object to Defendant’s instruction to identify produce documents “identified so as

 to correspond to the Request to which they respond[.]” Documents will often be responsive to

 multiple Requests, and Defendant imposes an undue burden in excess of the Fed. R. Civ. P. in

 requiring Plaintiffs to identify to which of his 68 Requests each document is responsive.

          Plaintiffs expressly incorporate each of the foregoing General Objections into each of the

 following specific individual responses to the requests as though fully set forth therein, even if not

 specifically referred to in such response.


 I.       REQUESTS FOR PRODUCTION

 1.     All Documents or Communications sent or received by “John Doe” (or anyone acting
 on his behalf), from August 20, 2021 to present, to or from any agent of the Federal
 Government, including but not limited to, the complete forensic copy of John Doe’s cellular
 telephone, to include any translations or derivatives of the forensic copy which John Doe
 received back from the United States Government. (On information and belief, such
 telephone shall include but not limited to a Samsung Galaxy Serial # RF8K82XS7QP
 associated with telephone number +93-70-077-7442).

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the extent it seeks information that does

 not advance the claims or defenses of any party to this litigation. Plaintiffs object to this Request

 as overly broad, unduly burdensome, irrelevant to the claims or defenses of any party, to the extent


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 it seeks “any translations or derivatives of the forensic copy” of John Doe’s personal cell phone.

 Plaintiffs object to this Request to the extent it calls for classified information, immigration

 information not directly related to this litigation, and/or information pertaining to ongoing law

 enforcement investigations. Plaintiffs object to this Request as overly broad, unduly burdensome,

 vague and ambiguous to the extent it seeks “All Documents or Communications sent or received

 by . . . anyone acting on [John Doe’s] behalf[.]” Plaintiffs object to the use of the term “agent” as

 vague, ambiguous, overly broad, and subject to multiple interpretations. Plaintiffs will interpret

 “agent” as “agents acting in a law enforcement capacity.”

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged, responsive

 communications in their possession, custody or control between John Doe and agents of the United

 States government acting in a law enforcement capacity related to the claims in this litigation, to

 the extent they exist.

 2.     All Documents or Communications sent or received by “Jane Doe” (or anyone acting
 on her behalf), from August 20, 2021 to present, to or from any agent of the Federal
 Government, including but not limited to, the complete forensic copy of Jane Doe’s cellular
 telephone, to include any translations or derivatives of the forensic copy ]which Jane Doe
 received back from the United States Government. (On information and belief, such
 telephone shall include but not be limited to a telephone associated with telephone number
 +93-78-245-9513).

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the extent it seeks information that is

 irrelevant to the claim or defense of any party to this action and to the extent it is not proportional

 to the needs of the case. Plaintiffs object to this Request as overly broad, unduly burdensome,

 irrelevant to the claims or defenses of any party and not proportional to the needs of the case to

 the extent it seeks “any translations or derivatives of the forensic copy” of Jane Doe’s personal

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 cell phone. Plaintiffs object to this Request to the extent it calls for classified information,

 immigration information not directly related to this litigation, and/or information pertaining to

 ongoing law enforcement investigations. Plaintiffs object to this Request as overly broad, unduly

 burdensome, vague and ambiguous to the extent it seeks “All Documents or Communications sent

 or received by . . . anyone acting on [John Doe’s] behalf[.]” Plaintiffs object to the use of the term

 “agent” as vague, ambiguous, overly broad, and subject to multiple interpretations. Plaintiffs will

 interpret “agent” as “agents acting in a law enforcement capacity.”

 3.               Subject to the foregoing objections, Plaintiffs will produce all nonprivileged,
 responsive communications within their possession, custody or control between Jane Doe and
 agents of the United States government acting in a law enforcement capacity related to the claims
 in this litigation, to the extent they exist. All Documents or Communications between July 10,
 2021 and present, relating to an intent by Jane Doe to harm herself or others.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it seeks documents that would reveal the

 personal identifying information of third parties, and any documents including such information

 will be produced with such personal identifying information redacted. Plaintiffs object to this

 Request as assuming facts not in the record to the extent it implies that Jane Doe has had any intent

 to harm others.

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged

 Communications and Documents within their possession, custody or control responsive to this

 Request as interpreted in the foregoing paragraph, to the extent they exist.




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 4.     All Documents or Communications between July 10, 2021 and present, relating to any
 promise or condition(s) upon Jane Doe accompanying John Doe in leaving Afghanistan,
 including coming to America.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as assuming facts not in the record, namely that there

 were any “promis[es] or condition(s) upon Jane Doe accompanying John Doe in leaving

 Afghanistan[.]” Plaintiffs object to this request as vague, ambiguous, and open to multiple

 interpretations due to the wording of its final clause. Plaintiffs will interpret this Request as

 documents relating to any promises or conditions serving as conditions precedent to leave

 Afghanistan, with the clause “including coming to America” modifying “leaving Afghanistan.” If

 this is not Defendant’s intended meaning, Plaintiffs are available to meet and confer regarding the

 meaning of this Request.

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged

 Communications and Documents within their possession, custody or control responsive to this

 Request as interpreted in the foregoing paragraph, to the extent they exist.

 5.    All Documents or Communications relating to bringing Baby Doe to Kabul for
 medical care, between February 2019, and August 30, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it seeks documents that would reveal the

 personal identifying information of third parties, and any documents including such information




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 will be produced with such personal identifying information redacted. Plaintiffs object to this

 Request to the extent it seeks documents preceding Baby Doe’s birth.

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged

 Communications and Documents within their possession, custody or control responsive to this

 Request as interpreted in the foregoing paragraph, to the extent they exist.

 6.    All Documents or Communications relating to medical care for Baby Doe, between
 February 2019, and August 30, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it seeks documents that would reveal the

 personal identifying information of third parties, and any documents including such information

 will be produced with such personal identifying information redacted. Plaintiffs object to this

 Request to the extent it seeks documents preceding Baby Doe’s birth.

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged

 Communications and Documents within their possession, custody or control responsive to this

 Request as interpreted in the foregoing paragraph, to the extent they exist.

 7.     All Documents or Communications relating to Baby Doe’s physical or medical
 symptoms, between February 2019, and August 30, 2021, including, but not limited to,
 discoloration, flushed face, twitching eyes, seizures, and/or shaking.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it seeks documents that would reveal the

 personal identifying information of third parties, and any documents including such information


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 will be produced with such personal identifying information redacted. Plaintiffs object to this

 Request to the extent that it assumes facts not in the record, namely that Baby Doe experienced

 the symptoms enumerated in the Request. Plaintiffs object to this Request to the extent it seeks

 documents preceding Baby Doe’s birth.

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged

 Communications and Documents within their possession, custody or control responsive to this

 Request as interpreted in the foregoing paragraph, to the extent they exist.

 8.       All Documents or Communications relating to or listing Plaintiff Jane Doe’s age.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party in

 this litigation.

          On the basis of these objections, Plaintiffs will not provide any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, Jane Doe’s age is not relevant

 to any party’s claim or defense in this matter. Plaintiffs will not provide any documents in response

 to this Request.

 9.     All Documents or Communications between September 2019 and the present relating
 to Jane Doe’s Taskiras (plural), national identities, or birthdates/dates of birth.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product




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 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party in

 this litigation.

          On the basis of these objections, Plaintiffs will not provide any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, Jane Doe’s national identity

 or birthdate are not relevant to any party’s claim or defense in this matter. Plaintiffs will not provide

 any documents in response to this Request.

 10.    All Documents or Communications between September 2019 and the present relating
 to Jane Doe’s Taskira (singular), national identity, or birthdate/date of birth.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party in

 this litigation. Plaintiffs object to this Request as duplicative of Request No. 9.

          On the basis of these objections, Plaintiffs will not provide any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, Jane Doe’s national identity

 or birthdate are not relevant to any party’s claim or defense in this matter. Plaintiffs will not provide

 any documents in response to this Request.

 11.    All Documents or Communications February 27, 2020 to the present in which John
 Doe used the word “daughter” or equivalent in relation to Baby Doe, in Pashto, Dari, or
 English.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product


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 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party in

 this litigation. Plaintiffs object to this Request as vague, ambiguous, and open to multiple

 interpretations. Plaintiffs object to this Request as overly broad and unduly burdensome to the

 extent it seeks “All Documents or Communications” in which John Doe uses a word or any

 equivalent to that word. Plaintiffs object to this Request to the extent it assumes without evidence

 that the exact translation of the word “daughter” would be used by one with legal custody of an

 orphaned child according to Afghan law and custom. Such a relationship is customarily referred

 to in terms of permanent guardianship.

          Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications in their possession, custody, or control

 referring to Plaintiffs’ relationship with Baby Doe.

 12.    All Documents or Communications February 27, 2020 to the present in which John
 Doe used the word “father” or equivalent describing his relationship to Baby Doe, in Pashto,
 Dari, or English.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party in

 this litigation. Plaintiffs object to this Request as vague, ambiguous, and open to multiple

 interpretations. Plaintiffs object to this Request as overly broad and unduly burdensome to the

 extent it seeks “All Documents or Communications” in which John Doe uses a word or any

 equivalent to that word. Plaintiffs object to this Request to the extent it assumes without evidence

 that the exact translation of the word “father” would be used by one with legal custody of an

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 orphaned child according to Afghan law and custom. Such a relationship is customarily referred

 to in terms of permanent guardianship.

          Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications in their possession, custody, or control

 referring to Plaintiffs’ relationship with Baby Doe.

 13.    All Documents or Communications between Plaintiffs (or anyone acting on their
 behalf) and media or news organizations or reporters (whether located in the U.S. or outside
 the U.S.), including, but not limited to, The New York Times, Associated Press, Rozina Ali,
 Martha Mendoza, Juliet Linderman, and/or Claire Galofaro, relating to the Plaintiff’s, or
 Defendant Richard Mast; Joshua Mast; Stephanie Mast; Kimberly Mottley; Ahmad
 Osmani; and/or Baby Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party in

 this litigation. Plaintiffs object to this Request to the extent it seeks information from third parties

 whose conduct does not form a nexus with the claims at issue.

          On the basis of these objections, Plaintiffs will not provide any documents in response to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications in their possession, custody, or control

 between Plaintiffs and media or news organizations regarding Defendants or Baby Doe, to the

 extent such materials exist.




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 14.    All Documents or Communications between Plaintiffs (or anyone acting on their
 behalf) and local, state, and federal law enforcement agencies, including, but not limited to,
 the Department of Justice, FBI, DHS, and NCIS, relating to the Plaintiffs, Defendant
 Richard Mast; Joshua Mast; Stephanie Mast; Kimberly Motley; Ahmad Osmani; and/or
 Baby Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object to this

 Request to the extent it seeks classified information, immigration information not directly related

 to this litigation, and/or information pertaining to ongoing law enforcement investigations.

 Plaintiffs object to this Request as overly broad, unduly burdensome, vague and ambiguous to the

 extent it seeks “All Documents or Communications between Plaintiffs (or anyone acting on their

 behalf)[.]”

          Subject to the foregoing objections, Plaintiffs will produce all nonprivileged, responsive

 communications within their possession, custody or control between John and/or Jane Doe, on the

 one hand, and agents of the United States government acting in a law enforcement capacity, on the

 other hand, related to the claims in this litigation.

 15.    All Documents or Communications sent or received by Donna Welton relating to
 Major Joshua Mast from September 6, 2019 to present, including, but not limited to, the
 email Ms. Welton wrote in approximately December 2019 that then-Captain Mast was under
 investigation.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this


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 information is more properly sought from the United States. Plaintiffs object to this Request to the

 extent it seeks information not in their possession, custody or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

 involving Donna Welton regarding Joshua Mast, to the extent such materials exist.

 16.    All Documents or Communications relating to the three letters received by Ms.
 Welton and signed by Sayed Anwar Sadat, then the acting Afghan Minister of Labor and
 Social Affairs, between December 1, 2019 and March 1, 2020, including but not limited to,
 any drafts prepared by, or with the assistance of, any agent of the U.S. government.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object to this

 Request as irrelevant to the claim or defense of any party to this action and to the extent it is not

 proportional to the needs of the case. Plaintiffs object on the basis that the United States is a party

 to this litigation, so this information is more properly sought from the United States. Plaintiffs

 object to this Request to the extent it seeks information not in their possession, custody or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control




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 involving Donna Welton and Sayed Anwar Sadat between December 1, 2019, and March 1, 2020,

 to the extent such materials exist.

 17.   All Documents or Communications sent or received by Donna Welton relating to
 Baby Doe from September 6, 2019 to present.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case, as there is no dispute the

 Governments of Afghanistan and the United States made a final determination to reunify Baby

 Doe and her biological family as determined pursuant to a familial tracing search conducted by the

 International Committee for the Red Cross. Plaintiffs object on the basis that the United States is

 a party to this litigation, so this information is more properly sought from the United States.

 Plaintiffs object to this Request to the extent it seeks information not in their possession, custody

 or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

 involving Donna Welton regarding Baby Doe, to the extent such materials exist.

 18.   All Documents or Communications sent or received by Kathryn Wyer relating to
 Baby Doe from September 6, 2019 to present.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

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 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object on the basis

 that the United States is a party to this litigation, so this information is more properly sought from

 the United States. Plaintiffs object to this Request to the extent it seeks information not in their

 possession, custody or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

 involving Kathryn Wyer regarding Baby Doe.

 19.   All Documents or Communications sent or received by the then CJ-9 for U.S. Forces
 - Afghanistan (USFOR-A), LTC Rosemary Reed, relating to Major Joshua Mast from
 September 6, 2019 to present.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this

 information is more properly sought from the United States. Plaintiffs object to this Request to the

 extent it seeks information not in their possession, custody or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

 involving Rosemary Reed regarding Joshua Mast, to the extent such materials exist.



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 20.    All Documents or Communications sent or received by the then CJ-9 for U.S. Forces
 - Afghanistan (USFOR-A), then LTC Rosemary Reed, relating to Baby Doe from September
 6, 2019 to present.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object on the basis

 that the United States is a party to this litigation, so this information is more properly sought from

 the United States. Plaintiffs object to this Request to the extent it seeks information not in their

 possession, custody or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

 involving Rosemary Reed regarding Baby Doe, to the extent such materials exist.

 21.     All Documents or Communications relating to Baby Doe, between September 6, 2019
 and March 1, 2020, between or among the Plaintiffs or any U.S. government agent to any
 Person or entity, including but not limited to, any Person, agent or Entity of the Government
 of the Islamic Republic of Afghanistan (GIROA); its Ministry of Labor and Social Affairs
 (MOLSA) and its Minister Sayeed Anwar Sadat; the Islamic Emirates of Afghanistan (also
 known as the Taliban) or International Committee of the Red Cross agent; including any
 requiring, recommending, or relating to a DNA test and/or other form of evidence evidencing
 a familial relationship to Baby Doe and any other Person, prior to the release of Baby Doe
 from U.S. government protection.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this

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 information is more properly sought from the United States. Plaintiffs object to this Request to the

 extent it seeks information not in their possession, custody or control. Plaintiffs object to this

 Request to the extent it assumes facts not in the record, namely that a DNA test would typically be

 required or recommended under the circumstances. Plaintiffs further object to this Request as

 protected by the deliberative process privilege, and as irrelevant to the claims or defenses of any

 party to this litigation, as there is no dispute the Governments of Afghanistan and the United States

 made a final determination to reunify Baby Doe and her biological family as determined pursuant

 to a familial tracing search conducted by the International Committee for the Red Cross. Plaintiffs

 object to this Request to the extent it seeks personal identifying information regarding third parties

 in violation of Protective Orders entered in this court and in the cases identified in Defendant’s

 definitions and instructions.

          On the basis of these objections, Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.




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 22.    All Documents or Communications relating to Baby Doe, between September 6, 2019,
 and March 1, 2020, between or among the Plaintiffs or any U.S. government agent and any
 employee or agent of the Islamic Emirates of Afghanistan (also known as the Taliban),
 including, but not limited to, negotiators at the Doha Peace Accords.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this

 information is more properly sought from the United States. Plaintiffs object to this Request as

 irrelevant to the claim or defense of any party to this action and to the extent it is not proportional

 to the needs of the case. The requested documents are irrelevant to the claims at issue, because

 there is no dispute that the Governments of Afghanistan and the United States made a final

 determination to reunify Baby Doe and her biological family as determined pursuant to a familial

 tracing search conducted by the International Committee for the Red Cross. Plaintiffs object to this

 Request to the extent it seeks information not in their possession, custody or control. Plaintiffs

 object to this Request to the extent it seeks documents and information regarding communications

 between third parties. Plaintiffs object to this Request as vague and ambiguous to the extent it

 does not specify whether the relevant parties were those employed by the enumerated entities

 during the timeframe of September 6, 2019 to March 1, 2020, or whether this Request is meant to

 include communications within this timeframe with parties who have been employed by those

 entities at any point in time, including before or after that time frame.

          On the basis of these objections, Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United


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 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 23.   All Documents or Communications relating to Baby Doe, between September 3, 2021,
 and the present, between or among the Plaintiffs or any U.S. government agent and any
 employee or agent of the Islamic Emirates of Afghanistan (also known as the Taliban).

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object on the basis

 that the United States is a party to this litigation, so this information is more properly sought from

 the United States. Plaintiffs object to this Request to the extent it seeks information not in their

 possession, custody or control. Plaintiffs object to this Request to the extent it seeks documents

 and information regarding communications between third parties. Plaintiffs object to this Request

 as vague and ambiguous to the extent it does not specify whether the relevant parties were those

 employed by the enumerated entities during the timeframe of September 3, 2021, to present, or

 whether this Request is meant to include communications within this timeframe with parties who

 have been employed by those entities at any point in time, including former employees.

          Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

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 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 24.     All Documents or Communications between September 6, 2019 and March 1, 2020,
 from the Plaintiffs or any Afghan government agent to any U.S. government agent,
 requiring, recommending, or relating to a DNA test (including requests for the U.S.
 government to support or provide DNA testing and/or other form of evidence evidencing a
 familial relationship to Baby Doe prior to releasing Baby Doe to anyone claiming to be a
 relative of Baby Doe).

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case because there is no dispute

 that the Governments of Afghanistan and the United States made the final determination to reunify

 Baby Doe and her biological family as determined pursuant to a familial tracing search conducted

 by the International Committee for the Red Cross.

          Plaintiffs object on the basis that the United States is a party to this litigation, so this

 information is more properly sought from the United States. Plaintiffs object to this Request to the

 extent it seeks information not in their possession, custody or control. Plaintiffs object to this

 Request to the extent it seeks documents and information regarding communications between third

 parties. Plaintiffs object to this Request as vague and ambiguous to the extent it does not specify

 whether the relevant parties were those employed by the enumerated entities during the timeframe

 of September 6, 2019 to March 1, 2020, or whether this Request is meant to include

 communications within this timeframe with parties who have been employed by those entities at




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 any point in time, including before or after that time frame. Plaintiffs object to this Request to the

 extent it calls for information protected by the deliberative process privilege.

          On the basis of these objections, Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 25.     All Documents or Communications with any current or former, volunteer, employee
 or official of any advocacy, non-profit, relief or aid organization relating to Richard Mast,
 Joshua Mast, Stephanie Mast, Baby Doe or the Plaintiffs John Doe or Jane Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party.

 Plaintiffs object to this Request as overly broad, unduly burdensome, and not proportional to the

 needs of the case to the extent it seeks “all Documents or Communications with any current or

 former, volunteer, employee or official of any advocacy, non-profit, relief or aid organization

 relating to … John Doe or Jane Doe.”

          Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

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 involving non-profit, relief, or aid organizations relevant to the claims in this case, to the extent

 such materials exist.

 26.    All Documents or Communications with any current or former employee or official
 of any church, religious Entity, faith-based Entity, or other Entity related to a religious faith
 relating to Baby Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party.

 Plaintiffs object to this Request as overly broad, unduly burdensome, vague, ambiguous, and not

 proportional to the needs of the case to the extent it seeks “all Documents or Communications with

 any current or former employee or official of any…Entity related to a religious faith relating to

 Baby Doe.”

          Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents or communications in their possession, custody, or control

 involving church or religious-based entities regarding Baby Doe, to the extent such materials exist.

 27.    All Documents or Communications between September 6, 2019 and March 1, 2020
 from any member of the Craig Joint Theatre Hospital staff regarding professional ethical
 obligations in relation to Baby Doe, including, but not limited to, the email from Brigadier
 General Norman West (then Colonel) indicating his ethical obligations to require a DNA test.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this


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 action and to the extent it is not proportional to the needs of the case. Plaintiffs object on the basis

 that the United States is a party to this litigation, so this information is more properly sought from

 the United States. Plaintiffs object to this Request to the extent it seeks information not in their

 possession, custody or control. Plaintiffs object to this Request to the extent it seeks information

 covered by deliberative process privilege. Plaintiffs object to this Request to the extent it assumes

 facts not in the record, namely that Craig Joint Theatre Hospital staff were under an ethical

 obligation to perform DNA testing on Baby Doe prior to transferring them for family reunification.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will produce non-privileged documents and communications

 in their possession, custody, or control regarding Baby Doe’s medical care, to the extent such

 materials exist.

 28.     All Documents or Communications relating to Bahlool Aqa (and alternate phonetic
 spelling including, but not limited to, “Bahlul,” “Balul,” “Balool” or “Aka,” “Agha,” or
 “Aga”), including but not limited to, the Tactical Interrogation Report(s) of the detainee
 from the objective of the 5-6 September 2019 mission that recovered Baby Doe from the
 battlefield.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case because there is no dispute

 that the Governments of Afghanistan and the United States made the final determination to reunify

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 Baby Doe and her biological family as determined pursuant to a familial tracing search conducted

 by the International Committee for the Red Cross. Plaintiffs object on the basis that the United

 States is a party to this litigation, so this information is more properly sought from the United

 States. Plaintiffs object to this Request to the extent it seeks information not in their possession,

 custody or control. Plaintiffs object to this Request to the extent it seeks classified information.

 Plaintiffs object to this Request as overly broad and unduly burdensome to the extent it is not

 limited in time. Plaintiffs object to this Request as overly broad and unduly burdensome to the

 extent it seeks information regarding the named individual not in connection with Baby Doe.

 Plaintiffs will limit their response to Documents or Communications relating to Bahlool Aqa in

 connection with Baby Doe.

          On the basis of these objections, Plaintiffs will not produce documents responsive to this

 Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 29.   All Documents or Communications relating to how, when, or where Bahlool Aqa or
 any member of his immediate family were killed.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this


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 information is more properly sought from the United States. Plaintiffs object to this Request to

 the extent it seeks information not in their possession, custody or control. Plaintiffs object to this

 Request to the extent it seeks classified information. Plaintiffs object to this Request as overly

 broad, unduly burdensome, vague, ambiguous, and irrelevant to the claims or defenses of any party

 to this litigation to the extent is seeks information on the killings of “any member of [Bahlool

 Aqa]’s immediate family[.]”

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged documents

 responsive to this Request as interpreted in the foregoing paragraph, to the extent they exist.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 30.    All Documents or Communications relating to the funeral or burial of Bahlool Aqa
 or any member of his immediate family.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation because there is no dispute that the Governments of Afghanistan and the United

 States made the final determination to reunify Baby Doe and her biological family as determined

 pursuant to a familial tracing search conducted by the International Committee for the Red Cross.




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          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 31.      All Documents or Communications relating to Baby Doe prior to September 6, 2019.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation.

          On the basis of these objections, Plaintiffs will not produce documents responsive to this

 Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.




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 32.   All Documents or Communications sent or received by petitioner Aminullah Amin
 on September 6, 7, 8 or 9, 2019, including but not limited to, text messages, Facebook
 messenger, voice messages, emails, WhatsApp or other messaging applications, and call logs.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object to this

 Request as overly broad, unduly burdensome, and irrelevant to the claims or defenses of any party

 to this litigation to the extent it seeks “All Documents or Communications” on a date range,

 irrespective of the contents of such Documents or Communications.” Plaintiffs object to this

 Request to the extent it violated the court’s Protective Order by not proceeding by pseudonyms.

          On the basis of these objections, Plaintiffs will not produce documents responsive to this

 Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.




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 33.    All Documents or Communications sent or received from John Doe or Jane Doe
 relating to the decision to leave Afghanistan between July 10, 2021 and September 3, 2021,
 including but not limited to any communication regarding progress of their travel, or
 ultimate or transit destinations such as the United Arab Emirates, Germany, Qatar, the
 United States, Mexico, or any other country other than Afghanistan.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as overly broad and irrelevant to the claims or defenses

 of any party to this litigation to the extent it seeks information concerning the status of their travel

 from Afghanistan to, ultimately, the United States.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents and

 Communications within their possession, custody or control, to and from Plaintiffs regarding their

 decision to travel from Afghanistan to the United States at the direction of Defendants Joshua Mast

 and Kimberley Motley for the purposes of medical treatment for Baby Doe, to the extent such

 documents exist.

 34.   All call, text, WhatsApp or other messaging app logs for John Doe for July,
 September, and October 2019, and July, August and September 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as overly broad, unduly burdensome, not proportional

 to the needs of the case, and irrelevant to the claims or defenses of any party to this litigation to

 the extent the Request includes no limitations as to the subject matter of Communications.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request. Plaintiffs invite Defendant to meet and confer to formulate a more targeted Request.


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          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce call, text, WhatsApp, or other messaging app messages from John Doe within their

 possession, custody, or control related to the claims in this litigation.

 35.  All Documents or Communications relating to Bahlool Aqa or his immediate family
 members from 1 July 2019 to present.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as overly broad, unduly burdensome, not proportional

 to the needs of the case, and irrelevant to the claims or defenses of any party to this litigation to

 the extent the Request includes no limitations as to the subject matter of Communications.

 Plaintiffs will interpret this Request to include only communications concerning Baby Doe.

 Plaintiffs’ familial relationship to Baby Doe was determined by the government of Afghanistan in

 2021 with family tracing assistance by the International Committee for the Red Cross, and Baby

 Doe’s transfer to the government of Afghanistan for reunification with Plaintiffs’ family was done

 pursuant to a final determination by the United States Government and is not at issue in this

 litigation. Thus, Plaintiffs’ relationship to Balool Aqa is not at issue in this litigation. Plaintiffs

 object to this Request to the extent it seeks document preceding Baby Doe’s birth.

          Subject to the foregoing objections, Plaintiffs will provide nonprivileged Documents

 within their possession, custody or control, responsive to this Request to the extent they relate to

 Baby Doe as interpreted in the foregoing paragraph, to the extent such documents exist.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to


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 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 36.   All Documents or Communications relating to the location of Bahlool Aqa’s house
 from September 6, 2019 to present.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation. Plaintiffs object to this Request to the extent it calls for classified documents and

 information, or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs’ familial

 relationship to Baby Doe was determined by the government of Afghanistan in 2021 with family

 tracing assistance by the International Committee for the Red Cross, and Baby Doe’s transfer to

 the government of Afghanistan for reunification with Plaintiffs’ family was done pursuant to a

 final determination by the United States Government and is not at issue in this litigation. Thus,

 Plaintiffs’ relationship to Balool Aqa is not at issue in this litigation.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to

 the foregoing objections, Plaintiffs will search for and produce non-privileged documents and




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 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 37.    All Documents or Communications relating to identification documents of Bahlool
 Aqa or member of his immediate family, including, but not limited to National Identity cards,
 birth certificates, passports, licenses, or identification of any sort.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation. Plaintiffs object to this Request to the extent it calls for personal identifying

 information in violation of Protective Orders entered in this court or in the matters referenced in

 Defendant’s definitions and instructions.       Plaintiffs’ familial relationship to Baby Doe was

 determined by the government of Afghanistan in 2021 with family tracing assistance by the

 International Committee for the Red Cross, and Baby Doe’s transfer to the government of

 Afghanistan for reunification with Plaintiffs’ family was done pursuant to a final determination by

 the United States Government and is not at issue in this litigation. Thus, Plaintiffs’ relationship to

 Balool Aqa or any of his immediate family members is not at issue in this litigation.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

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 38.      All photos or video of Bahlool Aqa’s house or Sekzi village.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation. Plaintiffs object to this Request to the extent it calls for classified documents and

 information, or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs’ familial

 relationship to Baby Doe was determined by the government of Afghanistan in 2021 with family

 tracing assistance by the International Committee for the Red Cross, and Baby Doe’s transfer to

 the government of Afghanistan for reunification with Plaintiffs’ family was done pursuant to a

 final determination by the United States Government and is not at issue in this litigation. Thus,

 Plaintiffs’ relationship to Balool Aqa is not at issue in this litigation.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.




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 39.      All photos of Bahlool Aqa or members of his immediate family.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation because there is no dispute that the Governments of Afghanistan and the United

 States made the final determination to reunify Baby Doe and her biological family as determined

 pursuant to a familial tracing search conducted by the International Committee for the Red Cross.

 Plaintiffs object to this Request to the extent it calls for classified documents and information, or

 personal identifying information in violation of Protective Orders entered in this court or in the

 matters referenced in Defendant’s definitions and instructions.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 40.      All photos or video of Baby Doe prior to September 6, 2019.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

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 this litigation because there is no dispute the Governments of Afghanistan and the United States

 made a final determination to reunify Baby Doe and her biological family as determined pursuant

 to a familial tracing search conducted by the International Committee for the Red Cross. Plaintiffs

 object to this Request to the extent it calls for classified documents and information, or personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 41.    All Documents or Communications relating to John Doe being investigated for any
 reason, including, but not limited to, affiliations with a terrorist organization, between
 August 29, 2021 and December 8, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to

 this litigation. Plaintiffs object to this Request to the extent it calls for classified documents and

 information, or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request to the extent it purports to seek information concerning ongoing law enforcement

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 investigations. Plaintiffs object on the grounds that the United States is a party to this litigation,

 so this information is more properly sought from the United States. Plaintiffs object to this Request

 to the extent it seeks information not in their possession, custody or control. Plaintiffs further object

 to this Request as overly broad, unduly burdensome, disproportional to the needs of the case, and

 irrelevant to the claims or defenses of any party to the extent it seeks information regarding

 investigations unrelated to John Doe’s parental relationship to Baby Doe.

          Plaintiffs state that they have no documents responsive to this Request.

 42.    All Documents or Communications sent or received by John Doe or Jane Doe
 regarding defendants Richard Mast, Joshua Mast, Stephanie Mast, Baby Doe., Ahmad
 Osmani, or Kimberly Motley, between 10 July 2021 and 3 September 2021, including, but
 not limited to, text messages, Facebook messenger, voice messages, emails, WhatsApp or
 other messaging applications, and call logs.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad and unduly burdensome to the extent it seeks “All Documents or Communications” to the

 extent it seeks information regarding subject matter not pertaining to the events at issue in this

 litigation.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents

 within their possession, custody or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.




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          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications regarding the Defendants between July

 10, 2021, and September 3, 2021, to the extent such materials exist.

 43.    All Documents or Communications sent or received by Plaintiffs between July 10,
 2021 to present relating to permission for Jane Doe, John Doe or Baby Doe to leave
 Afghanistan or to travel to any location outside of Afghanistan from John Doe’s father or
 the Taliban including any Documents or Communications which John Doe identifies as
 containing false statements.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad and unduly burdensome to the extent it seeks “All Documents or Communications” and to

 the extent it seeks information regarding travel not pertaining to the events at issue in this litigation.

 Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to the extent it

 seeks information beyond the scope of demonstrating John and Jane Doe’s mental state, intentions,

 and understanding of where, when, why, how, and for how long they would be traveling outside

 of Afghanistan.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents

 within their possession, custody or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications regarding Plaintiffs’ plans to leave

 Afghanistan between July 10, 2021, and September 3, 2021, to the extent such materials exist.

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 44.    All Documents or Communications relating to seeking permission from any Person
 or Entity for Baby Doe and/or John Doe and Jane Doe to leave Afghanistan from July 10,
 2021 to December 1, 2021, including, but not limited to, permission from Haji Mohammad
 Ismail or any other Person, council (elders, jirga, etc.), or Entity such as the Taliban or
 Islamic Emirate of Afghanistan, or the Islamic Republic of Afghanistan.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad and unduly burdensome to the extent it seeks “All Documents or Communications” and to

 the extent it seeks information regarding travel not pertaining to the events at issue in this litigation.

 Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to the extent it

 seeks information beyond the scope of demonstrating John and Jane Doe’s mental state, intentions,

 and understanding of where, when, why, how, and for how long they would be traveling outside

 of Afghanistan. Plaintiffs object to this Request as duplicative of Request No. 43.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents

 within their possession, custody or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications regarding Plaintiffs’ plans to leave

 Afghanistan between July 10, 2021, and September 3, 2021, to the extent such materials exist.




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 45.    All Documents or Communications relating to not having received permission from
 any Person or Entity for Baby Doe and/or John Doe and Jane Doe to leave Afghanistan,
 including, but not limited to, not having received permission from: Haji Mohammad Ismail
 or any other Person, council (elders, jirga, etc.), or Entity such as the Taliban or Islamic
 Emirate of Afghanistan, or the Islamic Republic of Afghanistan.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad and unduly burdensome to the extent it seeks “All Documents or Communications” and to

 the extent it seeks information regarding travel not pertaining to the events at issue in this litigation.

 Plaintiffs object to this Request as irrelevant to the claims or defenses of any party to the extent it

 seeks information beyond the scope of demonstrating John and Jane Doe’s mental state, intentions,

 and understanding of where, when, why, how, and for how long they would be traveling outside

 of Afghanistan. Plaintiffs object to this Request as duplicative of Request Nos. 43 and 44.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents

 within their possession, custody or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications regarding Plaintiffs’ plans to leave

 Afghanistan between July 10, 2021, and September 3, 2021, to the extent such materials exist.




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 46.     All Documents or Communications with or relating to the American Coordination
 Cell, any agent or representative of the U.S. government, or any other foreign contact besides
 Defendants between July 10, 2021 and September 3, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as vague, ambiguous, and open to multiple interpretations to the extent it refers to

 “foreign agents.” Plaintiffs do not know what Defendant refers to as the “American Coordination

 Cell,” and thus cannot respond with regard to this portion of the Request. Plaintiffs object to this

 Request as overly broad and unduly burdensome to the extent it seeks “All Documents and

 Communications with or relating to…any agent or representative of the U.S. government”

 regardless of the subject matter of these Documents and Communications.

          Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications with or regarding the “American

 Coordination Cell” or U.S. officials between July 10, 2021, and September 3, 2021, to the extent

 such materials exist.




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 47.   All Documents or Communications relating to Plaintiffs or Baby Doe between
 September 3, 2021 and December 8, 2021.

 RESPONSE:

           Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as vague, ambiguous, overly broad, unduly burdensome, disproportional to the needs

 of the case, and irrelevant to the claims or defenses of any party to the extent it seeks “all

 Documents or Communications relating to” themselves. By definition, all Communications to and

 from Plaintiffs will relate to themselves, and this Request must place a limitation on the subject

 matter.

           Plaintiffs cannot respond to this Request as drafted and invite Defendant to meet and confer

 to formulate a more targeted Request.

           Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications relevant to the claims in this litigation

 between September 3, 2021, and December 8, 2021, to the extent such materials exist.

 48.    All Documents or Communications relating to John Doe’s father transferring
 physical custody of or control over Baby Doe to John Doe or Jane Doe.

 RESPONSE:

           Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified




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 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents

 within their possession, custody, or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications in their possession, custody, or control

 referring to Plaintiffs’ relationship with Baby Doe.

 49.   All Documents or Communications relating to John Doe’s father transferring legal
 custody of or control over Baby Doe to John Doe or Jane Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions.

          Subject to the foregoing objections, Plaintiffs will produce nonprivileged Documents

 within their possession, custody, or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications in their possession, custody, or control

 referring to Plaintiffs’ relationship with Baby Doe.




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 50.    All Documents or Communications relating to any Person or Entity granting John
 Doe’s father physical custody or control over Baby Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case because there is no dispute

 the Governments of Afghanistan and the United States made a final determination to reunify Baby

 Doe and her biological family as determined pursuant to a familial tracing search conducted by the

 International Committee for the Red Cross The sufficiency and legal effect of these determinations

 are not at issue in this case.

          On the basis of these objections, Plaintiffs will not produce documents responsive to this

 Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 51.    All Documents or Communications relating to any Person or Entity granting John
 Doe’s father legal custody or control over Baby Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

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 action and to the extent it is not proportional to the needs of the case because there is no dispute

 the Governments of Afghanistan and the United States made a final determination to reunify Baby

 Doe and her biological family as determined pursuant to a familial tracing search conducted by the

 International Committee for the Red Cross. The sufficiency and legal effect of these

 determinations are not at issue in this case.

          Subject to the foregoing objections, Plaintiffs will produce non privileged Documents

 within their possession, custody or control responsive to this Request as interpreted in the

 foregoing paragraph, to the extent they exist.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 52.    All Documents or Communications relating to or in any way identifying Baby Doe’s
 family members, including, but not limited to, her siblings.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as overly broad, unduly burdensome, and irrelevant to the claims or defenses of any

 party to the extent it seeks information regarding Baby Doe’s siblings. Plaintiffs object to this


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 Request as irrelevant to the claim or defense of any party to this action and to the extent it is not

 proportional to the needs of the case, because there is no dispute the Governments of Afghanistan

 and the United States made a final determination to reunify Baby Doe and her biological family as

 determined pursuant to a familial tracing search conducted by the International Committee for the

 Red Cross. The sufficiency and legal effect of these determinations are not at issue in this case.

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 53.    All Documents or Communications relating to Martha Jenkins between September
 3, 2021 and December 8, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as overly broad, unduly burdensome, vague, ambiguous, and irrelevant to the claims

 or defenses of any party to the extent it seeks “all Documents and Communications relating to

 Martha Jenkins.”


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          Subject to the foregoing objections, Plaintiffs will produce non privileged Documents

 within their possession, custody or control, authored or sent between September 3, 2021 and

 December 8, 2021 to and from Martha Jenkins concerning Baby Doe, to the extent such documents

 exist.

 54.   All Documents or Communications relating to a DNA test between September 6, 2019
 and December 8, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as overly broad, unduly burdensome, and irrelevant to the claims or defenses of any

 party to the extent it seeks “All Documents or Communications related to a DNA test.” Plaintiffs

 object to this Request as irrelevant to the claim or defense of any party to this action and to the

 extent it is not proportional to the needs of the case, because there is no dispute the Governments

 of Afghanistan and the United States made a final determination to reunify Baby Doe and her

 biological family as determined pursuant to a familial tracing search conducted by the International

 Committee for the Red Cross. The sufficiency and legal effect of these determinations are not at

 issue in this case.

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United


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 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 55.    All Documents or Communications relating to DNA samples taken from John Doe or
 any other Person to compare with the DNA of Baby Doe.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case. Plaintiffs object to this

 Request to the extent it calls for Documents containing classified information or personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad, unduly burdensome, and irrelevant to the claims or defenses of any party to the extent it

 seeks information regarding Baby Doe’s siblings. Plaintiffs object to this Request as irrelevant to

 the claim or defense of any party to this action and to the extent it is not proportional to the needs

 of the case, because there is no dispute the Governments of Afghanistan and the United States

 made a final determination to reunify Baby Doe and her biological family as determined pursuant

 to a familial tracing search conducted by the International Committee for the Red Cross. The

 sufficiency and legal effect of these determinations are not at issue in this case. Plaintiffs further

 object to this Request as assuming facts not in the record, namely that laboratories or other entities

 accredited by the Association for the Advancement of Blood & Biotherapies exist that could




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 produce DNA evidence for the blood relationship between John Doe and Baby Doe that would be

 deemed admissible in Virginia or Fourth Circuit courts.

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 56.    All Documents or Communications relating to the Taliban, Terik-i-Taliban, or any
 other armed group, fighting, conflict, or jihad of any sort between September 6, 2019 and
 September 3, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as overly broad, unduly burdensome, vague, ambiguous, and irrelevant to the claims

 or defenses of any party, as this Request, as drafted, would encompass any reference to

 Afghanistan—an active warzone during the specified time period—or the United States military.

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.



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          Supplemental Response: To clarify the foregoing objections, the request is overly broad

 and unduly burdensome, because it seeks “All documents and communications” Plaintiffs might

 possess regarding “fighting” and “conflict” over a two-year period not just in Afghanistan but

 anywhere in the world. In the context of the request, “fighting” and “conflict” are vague and

 ambiguous. Moreover, information regarding “the Taliban, Terik-i-Taliban, or any other armed

 group” is not relevant to any claim or defense in this litigation.

 57.    All Documents or Communications relating to weapons or explosives use and John
 Doe in 2014 or any other year or John Doe’s presence in the Federally Administered Tribal
 Areas in 2020 or any other year.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as vague, ambiguous, and open to multiple interpretations to the extent it refers to

 “weapons or explosives use and John Doe[.]” Plaintiffs object to this Request as irrelevant to the

 claims or defenses of any party to the extent it seeks information as to John Doe’s physical

 whereabouts “in 2020 or any other year.” Plaintiffs presume that Defendant is referring to the

 Federally Administrated Tribal Areas in Pakistan, and Plaintiffs note that the Federally

 Administered Tribal Areas ceased to exist in 2018.

          With respect to Documents or Communications relating to weapons or explosives use and

 John Doe, Plaintiffs represent that no such Documents or Communications exist. On the basis of

 the foregoing objections, Plaintiffs will not produce any documents regarding “John Doe’s

 presence in the Federally Administered Tribal Areas in 2020 or any other year.”

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          Supplemental Response: To clarify the foregoing objections, “John Doe’s presence in the

 Federally Administered Tribal Areas in 2020 or any other year” is not relevant to any claim or

 defense in this litigation.

 58.   All Documents or Communications relating to the United States or any other foreign
 power in Afghanistan between September 6, 2019 and September 3, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as vague, ambiguous, overly broad, unduly burdensome, and open to multiple

 interpretations to the extent it refers to “any other foreign power.” Plaintiffs object to this Request

 as irrelevant to the claims or defenses of any party to the extent it seeks “[a]ll Documents or

 Communications relating to the United States or any other foreign power in Afghanistan[.]”

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.

 59.   All Documents or Communications relating to Communications between September
 6, 2019, and the present, between John Doe and John Doe’s father, including any
 Communications conducted through the mobile number +93-70-378-0791; and/or the
 WhatsApp account associated with that number; or any other mobile telephone or
 WhatsApp account belonging to or used by John Doe’s father.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal


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 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad, unduly burdensome, disproportional to the needs of the case, and irrelevant to the claims or

 defenses of any party to the extent it seeks “[a]ll Documents or Communications relating to

 Communications between September 6, 2019, and the present, between John Doe and John Doe’s

 father[.]” Plaintiffs object to this Request as irrelevant to the claim or defense of any party to this

 action and to the extent it is not proportional to the needs of the case, because there is no dispute

 the Governments of Afghanistan and the United States made a final determination to reunify Baby

 Doe and her biological family as determined pursuant to a familial tracing search conducted by the

 International Committee for the Red Cross.

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 60.    All Documents or Communications between July 10, 2021 and December 8, 2021
 relating to a term of legal responsibility for Baby Doe, including, but not limited to, “parent,”
 “daughter,” “responsible,” “guardian,” “masuleyat,” “sarparasti,” “sarparast,” “wali,” etc.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal

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 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad, unduly burdensome, to the extent it seeks “[a]ll Documents or Communications[.]”

          On the basis of these objections, Plaintiffs will not produce document responsive to this

 Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 61.    All Documents or Communications from September 6, 2019 to present relating to any
 of Bahlool’s immediate relatives, including, but not limited to, Haji Mohammad Ismail, and
 Lal Mohammad (and alternate phonetic spellings).

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information or personal identifying information in violation of Protective Orders entered in this

 court or in the matters referenced in Defendant’s definitions and instructions. Plaintiffs object to

 this Request as overly broad, unduly burdensome, and irrelevant to the claims or defenses of any

 party to the extent it seeks information “relating to any of Bahlool’s immediate relatives” and to

 the extent it employs vague terms such as “immediate relatives” without definition. Further, there

 is no dispute that the Governments of Afghanistan and the United States made a final determination

 to reunify Baby Doe and her biological family as determined pursuant to a familial tracing search

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 conducted by the International Committee for the Red Cross. The sufficiency and legal effect of

 these determinations are not at issue in this case.

          On the basis of these objections, Plaintiffs will not produce any documents in response to

 this Request.

          Supplemental Response: To clarify the foregoing objections, the validity of the

 reunification determination reached by the ICRC and honored by the governments of the United

 States and Afghanistan is not relevant to any party’s claim or defense in this matter. Subject to the

 foregoing objections, Plaintiffs will search for and produce non-privileged documents and

 communications in their possession, custody, or control referring to Plaintiffs’ relationship with

 Baby Doe.

 62.    All Documents or Communications relating to Touhy authorizations or changing
 orders (including, but not limited to, any drafts sent to Kathryn Wyer or any other member
 of the U.S. Government) for Major Mast.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this

 information is more properly sought from the United States.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications in their possession, custody, or control

 relating to Touhy requests related to Joshua Mast, to the extent such materials exist.




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 63.     All Documents or Communications relating to canceling Baby Doe’s asylum interview
 set for 23 January 2023.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this

 information is more properly sought from the United States. Plaintiffs object to this Request to the

 extent it seeks information not in their possession, custody or control.

          Plaintiffs state that they have no documents responsive to this request.

 64.    All Documents or Communications relating to the release of the Deputy Assistant
 Secretary of Defense request to U.S. Citizenship and Immigration Services for a
 Humanitarian Parole visa for Baby Doe, including but not limited to, the denial of Major
 Mast’s Privacy Act to USCIS for that record.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object on the basis that the United States is a party to this litigation, so this

 information is more properly sought from the United States. Plaintiffs object to this Request to the

 extent it seeks information not in their possession, custody or control.

          On the basis of these objections Plaintiffs will not produce any documents responsive to

 this Request.

          Supplemental Response: Subject to the foregoing objections, Plaintiffs will search for and

 produce non-privileged documents and communications relating to a release of a Deputy Assistant

 Secretary of Defense Request to U.S. Citizenship and Immigration Services for a Humanitarian

 Parole visa for Baby Doe, to the extent such materials exist.




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 65.   All Documents or Communications with any current or former employee or official
 of any agency of the United States Government relating to Baby Doe, including the
 Department of Defense, the Department of Homeland Security, the Department of State,
 Department of Justice, U.S. Citizenship and Immigration Services or any other federal
 agency, for this proceeding or any of the above proceedings.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing classified

 information, immigration information not directly related to this litigation, information pertaining

 to ongoing law enforcement investigations, and/or personal identifying information in violation of

 Protective Orders entered in this court or in the matters referenced in Defendant’s definitions and

 instructions. Plaintiffs object to this Request as overly broad, unduly burdensome, to the extent it

 seeks “[a]ll Documents or Communications[.]”

          Subject to the foregoing objections, Plaintiffs will provide nonprivileged Documents and

 Communications within their possession, custody or control responsive to this Request as

 interpreted in the foregoing paragraph, to the extent they exist.


 66.    All Documents or Communications produced or provided in or for the Circuit Court
 Matter by or from Nominal Defendants, to or from Plaintiffs or their agents, including any
 released pursuant to the Touhy process, Privacy Act, or Freedom of Information Act.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request as overly broad, unduly burdensome, and irrelevant to

 Defendant Richard Mast’s defense on the basis that Defendant Richard Mast was not a party in the

 Circuit Court Matter and the issues are not identical. The Circuit Court Matter is an adoption



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 proceeding, whereas the instant litigation is premised on the defendants’ tortious conduct in

 depriving Plaintiffs John and Jane Doe of a continuing parental relationship of Baby Doe.

          Subject to the foregoing objections, Plaintiffs will provide nonprivileged Documents and

 Communications within their possession, custody or control, responsive to this Request as

 interpreted in the foregoing paragraph, to the extent permitted by orders of the court in the Circuit

 Court Matter and to the extent such Documents and Communications relate to the claims and

 defenses in this case.

 67.     All Documents or Communications between and among the United States
 Government and/or its agents, and counsel for the Plaintiffs, including any attorney or
 employee of Hunton Andrews Kurth, Latham & Watkins, Elbially Law PLLC, Graham Law
 Firm, or any advocate, including, but not limited to, Martha Jenkins, relating to any of the
 Plaintiffs or Defendants or their respective relatives.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it calls for Documents containing personal

 identifying information in violation of Protective Orders entered in this court or in the matters

 referenced in Defendant’s definitions and instructions. Plaintiffs object to this Request as overly

 broad, unduly burdensome, to the extent it seeks “[a]ll Documents or Communications between

 and among the United States Government and/or its agents, and… any advocate, including, but

 not limited to, Martha Jenkins, relating to any of the Plaintiffs or Defendants or their respective

 relatives” and to the extent it employs vague terms like “agents,” “advocates,” or “relatives”

 without definition. Plaintiffs will interpret “agent” as “agents acting in a law enforcement

 capacity.”




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          Subject to the foregoing objections, Plaintiffs will provide nonprivileged Documents and

 Communications within their possession, custody or control, responsive to this Request as

 interpreted in the foregoing paragraph, to the extent they exist..

 68.    All Documents or Communications relating to any effort to bringing Baby Doe to the
 United States, including, but not limited to, communications from Office of the President,
 Office of the Vice President, between the dates September 6, 2019, and March 1, 2020; and
 between the dates of August 16, 2021 and August 23, 2021.

 RESPONSE:

          Plaintiffs incorporate their General Objections as if stated fully herein. Plaintiffs object to

 this Request to the extent it seeks information covered by attorney-client privilege or work-product

 doctrine. Plaintiffs object to this Request to the extent it seeks information more readily available

 to Defendant than Plaintiffs.       Plaintiffs would only have access to these Documents or

 Communications through discovery in the Circuit Court Matter, whereas Plaintiffs understanding

 is that these Documents and Communications were authored by Defendant.

          On the basis of these objections, Plaintiffs will not produce any Documents in response to

 this Request.

          Supplemental Response: To clarify the forgoing objections, the request appears to seek

 documents and communications that, to Plaintiffs’ best understanding, were sent or received by

 Defendants and not Plaintiffs. Requiring Plaintiffs to produce back to Defendants something that

 is already in their possession is unduly burdensome and not proportional to the needs of the case.




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 Dated: April 26, 2023                            Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 26th day of April, I electronically mailed the foregoing to all

 counsel of record in this case.

                                        /s/ Kevin S. Elliker
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